        Case 5:03-cr-40142-JAR                Document 846            Filed 09/10/07         Page 1 of 8




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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                        Plaintiff,       )
      vs.                                )                              Case No. 03-40142-JAR
                                         )
                                         )
DAVID C. WITTIG and                      )
DOUGLAS T. LAKE,                         )
                                         )
                        Defendants.      )
________________________________________ )

                                     MEMORANDUM AND ORDER

         This matter is before the Court on the government’s Motion to Reinstate Restraining

Orders Following Return of the Mandate and Impose Conditions of Release (Doc. 805) and

defendants’ responses in opposition (Docs. 806 and 831).1 The Court heard argument on May

30, 2007, and took the matter under advisement. On June 27, 2007, the Court entered an order

denying the motion with respect to advancement of legal fees and granting the government’s

motion with respect to the remaining directly forfeitable assets listed in the Superseding

Indictment (Doc. 836). In addition to restraint of the forfeitable assets listed in Count 40, the

government requested that the Court reinstate the post-trial restraining order (Doc. 590), issued

to restrain all assets of the Wittigs’, either joint or several, including the $7 million settlement

fund recently returned by the government to defendant Wittig and his wife, Beth Wittig. The

government subsequently modified its position, instead asserting that the Court hold that the


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          Although defendant Wittig takes the lead in opposing the government’s motion, defendant Lake has joined
in Wittig’s response to the extent it applies to him. The $7 million settlement fund is an issue limited to defendant
Wittig.
       Case 5:03-cr-40142-JAR           Document 846        Filed 09/10/07      Page 2 of 8




Settlement Agreement between the government and Beth Wittig remains in full force and effect

and allow the government to retain the $7 million settlement fund pending the third trial. The

Court is now prepared to address the issues surrounding the post-trial restraining order and the

$7 million settlement fund. For the reasons explained in detail below, the Court defers ruling on

the issue until Beth Wittig states her position with respect to enforcement of the Settlement

Agreement.

Background

       On January 17, 2006, after extensive submissions by the parties and a hearing, this Court

detained defendant Wittig for violating the conditions of release.2 Highly summarized,

defendant transferred assets to his wife, Beth Wittig, in violation of the terms of release, which

the Court viewed as the intentional dissipation of assets.3 Consequently, the government sought

and obtained an expanded restraining order on the Wittigs’ assets.4 Specifically, the Court

restrained property that might serve as substitute property to be forfeited after ancillary

proceedings, including numerous joint and individual bank and investment accounts, stock, and

partnership interests.5 The restraining order also covered any personal property held by the

Wittigs directly or indirectly in storage and any previously undisclosed accounts.6

       On February 2, 2006, following the forfeiture verdict against defendant,7 Beth Wittig


       2
        (Doc. 589.)
       3
        Id.
       4
        (Doc. 590.)
       5
        Id. at 2.
       6
        Id.
       7
        (Doc. 534.)

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       Case 5:03-cr-40142-JAR           Document 846        Filed 09/10/07      Page 3 of 8




filed an Ancillary Petition asserting an interest in various forfeited properties.8 The government

subsequently deposed Beth Wittig, at which time she testified, inter alia, that she had reached a

verbal agreement with defendant some time in July 2004 to pay his past and future legal fees,

and that she should “get something in return” for this agreement.

       In March 2006, Beth Wittig and the government negotiated a settlement that

compromised their respective interests in the subject property.9 The Corrected Final Order of

Forfeiture as to defendant incorporated the terms of the Settlement Agreement.10 The Corrected

Final Order of Forfeiture stated, in part, that $7,017,460.00 is forfeited to the United States

“pursuant to and in accordance with the Settlement Agreement between the United States and

Beth G. Wittig, which agreement resolves all claims and rights to the Substitute Assets identified

in the Court’s Order Modifying Restraining Orders and Preliminary Orders of Forfeiture.”11

Per the Settlement Agreement, the government released its interest in certain property and Beth

Wittig agreed to liquidate certain property and fund a substitute asset settlement fund in the

approximate amount of $7 million.12 Beth Wittig also waived any right or interest in certain

property, including Westar stock and employment benefits and all but $350,000 of the couple’s

home, referred to throughout these proceedings as the Landon Mansion.

       On July 28, 2006, the government and counsel for Beth Wittig submitted an Agreed

Motion for Rescission of Restraining Orders that stated she had fully performed under the

       8
        (Docs. 603, 604.)
       9
        (Doc. 806 Ex. 4.)
       10
           (Doc. 683.)
       11
           Id.
       12
           Id.

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       Case 5:03-cr-40142-JAR                Document 846         Filed 09/10/07   Page 4 of 8




Settlement Agreement and paid her obligation in full.13 Per the agreement, $7,017,460.00 had

been deposited with the United States Marshal’s Service. The Court rescinded all restraining

orders and acknowledged Beth Wittig’s performance under the compromise reached with the

government.14

       On January 5, 2007, the Tenth Circuit reversed defendants’ convictions.15 In so doing,

the Tenth Circuit held that the wire fraud and money laundering counts cannot be retried, but

that the counts for conspiracy, circumvention of internal controls and forfeiture would be

remanded for retrial.

       On February 21, 2007, counsel for defendant advised the government of his position that

as a consequence of the Tenth Circuit reversal of all counts, the government could no longer

lawfully hold the $7 million. Counsel stated that he was writing as counsel for David Wittig,

(Beth Wittig had separate counsel in the ancillary proceedings), and requested that the money

being held be returned immediately. After several letters and emails back and forth, the parties

apparently agreed that the funds would be returned by transferring them to defense counsel’s law

firm; no subsequent transfer of the principal funds would occur without complying with

defendant’s conditions of release, which require Court approval for transactions over $25,000;

and the government might seek to satisfy the $1 million fine from the bank fraud case.16

According to defendant Wittig, it was consistently represented throughout exchanges with the



       13
         (Doc. 800.)
       14
         (Doc. 801.)
       15
         United States v. Lake, 472 F.3d 1247 (10th Cir. 2007).
       16
            United States v. Wittig, 02-40140-JAR.

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       Case 5:03-cr-40142-JAR            Document 846         Filed 09/10/07      Page 5 of 8




government that Beth Wittig had disclaimed any interest in the substitute asset funds. The

government then issued a check payable to David Wittig, Beth Wittig and defense counsel.

Defendant filed a “Notice of Improper Return of Funds,” taking issue with the return to Beth

Wittig.17 The government’s position at that time was that Beth Wittig’s Settlement Agreement

with the government was void because her consideration had been returned to her.

        On February 27, 2007, the government filed the instant motion to reinstate restraining

orders. After consulting with the Department of Justice, the government reversed its position as

to the $7 million, and now asserts that the Court should (1) restrain the directly forfeitable assets,

as it did previously, to prevent the further dissipation of those assets and (2) hold that the

Settlement Agreement between the government and Beth Wittig remains in full force and effect

and allow the government to retain the $7 million pending retrial.

        At the May 30 hearing, counsel for defendant Wittig indicated that he would return the

check to the government, and the Court directed the funds be placed in an interest-bearing

account with the United States Marshal’s Service, pending disposition of the government’s

instant motion.

Discussion

        Defendant contends that the government’s request, as applied to substitute property,

constitutes an unlawful restraint of substitute assets. The government counters that it is not

seeking pretrial restraint “per se,” but rather an order confirming that it is entitled to the

settlement funds as the benefit of its bargain with Beth Wittig. The government asserts that a

forfeiture settlement is not necessarily affected by a subsequent reversal and/or vacation of the


        17
          (Doc. 815.)

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       Case 5:03-cr-40142-JAR           Document 846         Filed 09/10/07      Page 6 of 8




underlying criminal conviction, if the settling party voluntarily enters into the settlement

agreement with the government, and the agreement is not conditioned on any outcome of any

appeal of the underlying criminal case. The government further asserts that a non-defendant

third party seeking relief from a settlement of an ancillary forfeiture petition in a criminal case

must do so through Fed. R. Civ. P. 60, which Beth Wittig has not done. Finally, the government

contends that defendant Wittig has no standing to the $7 million settlement fund, and that it

relied to its detriment on the Wittigs’ representations that all of their jointly held assets had been

transferred to Beth Wittig, in exchange for her agreement to pay defendant’s legal fees.

According to the government, defendant’s interest in assets subject to forfeiture are all “back in

play, as if no trial had been held.”

       Defendant Wittig asserts that the government ignores the actual terms of the Settlement

Agreement. Defendant notes that the specialized verdict of forfeiture was incorporated into the

Preliminary Order of Forfeiture, and that all Wittig property constituted substitute assets that

were available to satisfy that Order of Forfeiture. Defendant could only contest the Order of

Forfeiture on appeal. Subsequently, there were ancillary proceedings in which third parties

could assert their interests in forfeited property, which Beth Wittig did. The government and

Beth Wittig negotiated a settlement “to settle and compromise the Unites States of America’s

claims to and interest in certain property and Petitioner’s claim to and interest in property

identified herein, . . .” The government released its interest in certain Wittig property, e.g., the

Ferrari. Beth Wittig abandoned and released her interest in specified assets and property claims,

agreed to a limited interest in the Landon Mansion ($350,000 after sale), and agreed to fund an

account by liquidating Wittig assets. Defendant Wittig takes issue with the government’s


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       Case 5:03-cr-40142-JAR          Document 846         Filed 09/10/07      Page 7 of 8




statement that Beth Wittig agreed to liquidate “her” assets. The Settlement Agreement states

that Beth Wittig shall

               liquidate assets and/or cause the liquidation or transfer of assets for
               funding a $7,017,460.00 compromise payment to the United
               States Marshal’s Service to be treated as the forfeited
               substitute asset funds of David C. Wittig. . . The compromise
               payment of $7,017,460.00 will be considered the forfeited
               substitute assets of David C. Wittig, and Petitioner agrees to the
               forfeiture to the United States of the [funds] and waives any right,
               title or interest in such funds. (emphasis added).

Thus, defendant Wittig argues, the government ignores its own settlement terms and argues for

enforcement while requesting relief at odds with the express language of the agreement.

       Defendant Wittig urges that the legal characterization of the $7 million is “the forfeited

substitute assets of David C. Wittig,” as set forth in the Settlement Agreement and the Corrected

Final Order of Forfeiture. Following the Tenth Circuit reversal, the government now holds funds

that are the substitute assets of defendant Wittig. Accordingly, the issue is whether the

government can enforce a pretrial restraint on these assets, which defendant contends it cannot.

       Both parties adamantly argue that the settlement agreement is enforceable, with wildly

divergent results. However, defendant Wittig was not a party to the settlement agreement and

the Court questions his standing to urge its enforcement. This begs the question, in examining

the history and context of the settlement agreement, whether the Court may decide the parties’

intent without the input of one of the parties—Beth Wittig? Does Beth Wittig, who was

represented by separate counsel in the ancillary proceedings and resulting settlement, intend to

enforce the Settlement Agreement? Does Beth Wittig, outside of the context of the forfeiture

proceedings, intend to continue to waive any claim she might have to not only the $7 million

settlement fund, but numerous other forfeited assets, including the Landon Mansion? Without

                                                 7
        Case 5:03-cr-40142-JAR        Document 846        Filed 09/10/07     Page 8 of 8




input from Beth Wittig, the Court declines to rule on the issues surrounding enforcement of the

Settlement Agreement between her and the government. Accordingly, until such time as Beth

Wittig formally states her position, the Court will defer ruling on the government’s motion, and

the settlement funds will remain in an interest-bearing account with the United States Marshal’s

Service.

        IT IS THEREFORE ORDERED BY THE COURT that Beth Wittig shall file a

response to the government’s motion to reinstate restraining orders on or before October 10,

2007.

        IT IS SO ORDERED.

        Dated this 10th day of September 2007.

                                              S/ Julie A. Robinson
                                             Julie A. Robinson
                                             United States District Judge




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